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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

VERONICA VENTRICE,                               )
                                                 )
       Plaintiff,                                )
                                                 )
       v.                                        )       No. 8:16-cv-00568
                                                 )
DISCOVER FINANCIAL SERVICES,                     )
                                                 )
       Defendant.                                )

                                  NOTICE OF SETTLEMENT

       Plaintiff, VERONICA VENTRICE, (“Plaintiff”), through her attorney, Hormozdi Law

Firm, LLC, informs this Honorable Court that the Parties have reached a settlement in this case.

Plaintiff anticipates dismissing this case, with prejudice, within 30 days.


                                      RESPECTFULLY SUBMITTED,


April 13, 2016                         By: /s/        Shireen Hormozdi
                                                      Shireen Hormozdi
                                                      Hormozdi Law Firm, LLC
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                                                      Attorney for Plaintiff
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                                CERTIFICATE OF SERVICE

        On April 13, 2016, I electronically filed the Notice of Settlement with the Clerk of the U.S.
District Court, using the CM/ECF system. I e-mailed a copy of the filed Notice of Settlement to
Defense Counsel, Jacqueline Simms-Petredis, at jsimms-petredis@burr.com.
